                                                Entered on Docket
                                                July 30, 2019
                                                EDWARD J. EMMONS, CLERK
                                                U.S. BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF CALIFORNIA


  1 Mariam S. Marshall, Esq.
    (Bar No. 157242)
  2 Zunilda Ramos, Esq.             The following constitutes the order of the Court.
    (Bar No. 161114)                Signed: July 30, 2019
  3 MARSHALL & RAMOS, LLP
    ATTORNEYS AT LAW
  4 Two Worlds Center               _________________________________________________
    91 Gregory Lane, Suite 7,       M. Elaine Hammond
  5 Pleasant Hill, California 94523 U.S. Bankruptcy Judge
    Telephone: (925) 446-4546
  6 Facsimile: (925) 446-4549
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  7
    Attorneys for Trustee,
  8 FRED HJELMESET
  9                               UNITED STATES BANKRUPTCY COURT
 10                               NORTHERN DISTRICT OF CALIFORNIA
 11
       In re:                                                Case No. 18-52831 MEH
 12
       FATMATA JOHN,                                         Chapter 7
 13
                     Debtor.
 14
                ORDER AUTHORIZING AND APPROVING SALE OF REAL PROPERTY
 15                   OF THE ESTATE FREE AND CLEAR OF LIENS AND
                 ENCUMBRANCES PURSUANT TO 11 U.S.C. SECTION 363(b) and (f)
 16
                The Application of FRODE HJELMESET, aka FRED HJELMESET, Chapter 7
 17
      trustee (the “Trustee), of the bankruptcy estate of Fatmata John (the “Debtor”),for an
 18
      order approving the short sale of the real property commonly known as 3354 Caselegno
 19
      Court, San Jose, California 95148, Assessor’s Parcel No. 659-67-066 (the “San Jose
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      Property”), Free and Clear of Liens to Xingping He and Weiging Wei (the
 21
      “Buyers”), for the sum of $1,755,000, having been considered by the Court, there having
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      been no opposition to the proposed short sale, and good cause appearing,
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                IT IS HEREBY ORDERED that:
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                1.      The San Jose Property is property of the within bankruptcy estate pursuant
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      to 11 U.S.C. Section 541(a).
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                2.      The Application for Order Approving Short Sale of Real Property Free and
 27
      Clear of Liens is approved.
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  1        3.     The Trustee is authorized to sell the San Jose Property on an “as is”,
  2 “where is” basis, without any warranties or representations, to the Buyers, for the total
  3 sum of $1,755,000.
  4        4.     The Trustee’s sale of the San Jose Property free and clear of all liens,
  5 claims, interests, and encumbrances, is approved, subject only to the consent of the first
  6 deed of trust holder, Nationstar Mortgage LLC, d/b/a Mr. Cooper (hereinafter “Mr.
  7 Cooper”), and the second deed of trust holder, Real Time Resolutions, Inc. (“RTR”).
  8        5.     The Trustee is authorized to pay the following liens, costs of sale, and other
  9 expenses, directly from the sale proceeds of the San Jose Property, upon close of
 10 escrow, including but not limited to:
 11               A.     Payment of outstanding real property taxes, if any;
 12               B.     Payment of 6% real estate sales commissions or $105,300 as
 13                      follows: (i) $35,100, representing 2% of the sale price of the San
 14                      Jose Property, to BK Global; (ii) $35,100, representing 2% of the sale
 15                      price of the San Jose Property, to the Trustee’s real estate
 16                      agent/broker Andy Buchanan and Intero Real Estate; and (iii)
 17                      $35,100, representing 2% of the sale price of the San Jose Property,
 18                      to the Buyers’ broker;
 19               C.     Payment of $28,000 to RTR, in full satisfaction and release of its
 20                      second deed of trust;
 21               D.     Payment of $100,000 to the Trustee on behalf of the bankruptcy
 22                      estate as a carve-out based on senior lien holder, Mr. Cooper’s
 23                      consent to the sale, or under Bankruptcy Code Section 506(c), as a
 24                      surcharge against the collateral of Mr. Cooper, for the costs the
 25                      estate has incurred in the maintenance of its collateral (consisting of
 26                      the San Jose Property), as well as the preservation and disposition
 27                      of its collateral;
 28               E.     Payment of $850.00 to the Trustee for the Trustee’s liability

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  1                       insurance;
  2                F.     Payment of $1,000 to JPMorgan Chase in full satisfaction and
  3                       release of its judgment lien;
  4                G.     Payment of closing costs and other monetary obligations the sale
  5                       agreement requires the Trustee, on behalf of the estate as seller of
  6                       the San Jose Property, to pay at the close of escrow (including but
  7                       not limited to escrow charges, title charges, documentary transfer
  8                       taxes, property transfer taxes), without requiring the estate to place
  9                       any funds into escrow or have any continuing obligation to the senior
 10                       lien holder, Mr. Cooper. In connection therewith, provided the estate
 11                       receives the $100,000 carve-out payment at closing, authorizing the
 12                       Trustee to resolve any disputes over the allowance and disallowance
 13                       of costs and/or payoff amounts subject only to agreement between
 14                       Mr. Cooper and the Trustee as part of the escrow closing without the
 15                       need for further notice, hearing or Court order; and
 16                H.     Payment of the balance of the sale proceeds of the San Jose
 17                       Property to the first deed of trust holder, Mr. Cooper, in an amount
 18                       not less than $1,506,305.06.
 19         6.     The carve-out payment to the estate in the amount of $100,000, free and
 20 clear of any liens or interests, to compensate the estate inter alia for its efforts in
 21 connection with the sale of the San Jose Property, is hereby approved.
 22         7.     The Trustee is authorized to sign any and all documents necessary to
 23 consummate the sale of the San Jose Property pursuant to the terms of the sale
 24 agreement and the short sale approval letter from Mr. Cooper, including but not limited to
 25 any and all conveyances contemplated by the sale.
 26         8.     The Buyers of the San Jose Property are good faith buyers pursuant to
 27 Bankruptcy Code Section 363(m).
 28         9.     The fourteen-day stay of the order approving the sale of the San Jose

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  1 Property under FRBP 6004(h) is waived, and the sale of the San Jose Property can close
  2 as required by Mr. Cooper in its acceptance of the short sale.
  3         10.    The Trustee is authorized to take possession, custody and control of the
  4 $100,000 carve out payment to the estate and the $850 liability insurance reimbursement
  5 payment to the estate, directly from escrow following the closing of the sale transaction,
  6 free and clear of all liens, encumbrances and interests.
  7         11.    The escrow company shall distribute the $100,000 carve out payment and
  8   the $850 liability insurance reimbursement payment to the estate, immediately following
  9 close of escrow, without further order of the Court.
 10               Certificate of service for proposed order filed as docket entry #75.
 11                                      **END OF ORDER**
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  1                                  COURT SERVICE LIST
  2
  3 ALL ECF RECIPIENTS
  4
    Biamba John                                           Community Property Title Holder
  5 3194 De La Cruz Blvd.,Suite 10
    Santa Clara, CA 95054
  6
    Real Time Resolutions                                 Second Deed of Trust Holder
  7 1349 Empire Central Drive, Suite 150
    Dallas, TX 75247-4029
  8
    Mr. Cooper                                            First Deed of Trust Holder
  9 c/o Short Sale Underwriter/Manager
    Centralized Collateral
 10 8950 Cypress Waters Blvd.
    Coppell, TX 75019
 11
    Mr. Cooper                                            First Deed of Trust Holder
 12 c/o Clarence Johnson, Loan Specialist
    PO Box 619097
 13 Dallas, TX 75261
 14 Richard B. Davis, Esq.                                Judgment Lien Holder
    JP Morgan Chase
 15 Legal Department CA2-4383
    9200 Oakdale Avenue
 16 Chatsworth, CA 91311
 17 BK Global, Inc.                                       Short Sale Specialist
    c/o Joshua M. Liszt, Esq.
 18 Corporate Counsel
    1095 Broken Sound Pkwy, NW #100
 19 Baca Raton, FL 33487
 20 BK Global, Inc.                                       Short Sale Specialist
    c/o Patrick Butler
 21 SVP/Corporate Broker
    1095 Broken Sound Pkwy, NW #100
 22 Baca Raton, FL 33487
 23 Andrew Buchanan                                       Real Estate Agent for
    Intero                                                Trustee
 24 496 First Street, Suite 200
    Los Altos, CA 94022
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